        EXHIBIT A18




Case 3:23-md-03071   Document 776-25   Filed 02/09/24   Page 1 of 3 PageID #: 14344
    Case: 1:20-cv-02114 Document #: 180 Filed: 10/17/23 Page 1 of 2 PageID #:3499

                       UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                  Eastern Division

   Sky Federal Credit Union, et al.
                                            Plaintiff,
   v.                                                        Case No.: 1:20−cv−02114
                                                             Honorable Edmond E. Chang
   Fair Isaac Corporation, et al.
                                            Defendant.



                            NOTIFICATION OF DOCKET ENTRY



   This docket entry was made by the Clerk on Tuesday, October 17, 2023:


           MINUTE entry before the Honorable Edmond E. Chang: (1.) On review of the
   status report, R. 179, first the previously set deadlines remain in place: FICO's answers are
   due on 10/23/2023; any amended complaints are due on 10/30/2023; and Rule 26(a)(1)
   disclosures are due on 11/13/2023. The parties also agreed on the following: the
   first−round of document requests and interrogatories must be served on 11/06/2023; the
   proposed ESI discovery and confidentiality order is due on 11/06/2023; proposed orders
   on expert discovery, a deposition protocol, and potential modifications on discovery limits
   is due on 12/15/2023; document discovery shall be substantially completed by
   06/14/2024; the final set of written discovery requests are due on 09/17/2024; fact
   discovery shall close on 12/20/2024. (2.) On review of the competing positions, the Court
   orders as follows: discovery, both fact and expert, shall cover the propriety of class
   certification and the merits of the current Plaintiffs'; claims. In this case, there will likely
   be substantial overlap between the issues underlying the propriety of certification and
   those underlying the merits of the current Plaintiffs' claims. It would be artificial to
   divorce the two for purposes of discovery, so splitting them up would waste more time
   than gained and would likely lead to disputes over the proper classification of discovery
   (which in turn would lead to more delay). Yes, if certification is denied, then the merits
   expert discovery possibly would go to waste (the Plaintiffs insist they would pursue the
   case even without certification, but the settlement parameters would be significantly
   affected). But waiting many, many months to start merits expert discovery 100%
   guarantees delay if certification is granted. So discovery (including expert discovery) shall
   cover both certification and the merits of the current Plaintiffs' claims. Expert reports are
   due on 01/30/2025. Response reports are due on 03/13/2025. Rebuttal reports are due on
   04/15/2025. Expert depositions shall finish by 05/30/2025 (though it would be
   understandable if some leeway were given on that deadline). Very soon after the parties
   identify the experts who will be authoring reports, the parties should start scheduling
   deposition dates (even before issuance of the reports) in light of busy calendars. (3.) But
   then briefing shall take place in two rounds, with the **certification motion presented
   first** and then later, only **after** a decision on certification, will merits briefing begin.
   The one−way ratchet problem otherwise would arise, and although defendants in putative
   class actions sometimes are willing to litigate the merits first (if the court permits), the
   defense refuses to do so here. Plus, the certification decision is likely to shed some light
Case 3:23-md-03071      Document 776-25        Filed 02/09/24    Page 2 of 3 PageID #: 14345
    Case: 1:20-cv-02114 Document #: 180 Filed: 10/17/23 Page 2 of 2 PageID #:3500

   on the merits motions. The Plaintiffs' motion to certify is due on 07/10/2025. The response
   brief is due on 08/21/2025. The reply is due on 09/23/2025. ***Note that any Rule 702
   expert arguments shall be presented in the certification briefing itself.*** There is no need
   to file separate motions on expert after expert. Inserting the expert arguments in the
   certification briefs ensures that the expert issue is concretely and specifically tied to a
   certification issue, rather than serve as free−floating, early motions in limine. Also, any
   reasonable page−limit expansions will be granted, so that is not a problem. There is
   significant disadvantage in multiplying out the number of briefs (in which background and
   argument is often repeated). (4.) The tracking status hearing of 10/20/2023 is reset to
   11/17/2023 at 8:30 a.m., but to track the case only (no appearance is required, the case
   will not be called). Instead, the parties shall file a joint status report by 11/09/2023.
   Emailed notice (mw, )




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Case 3:23-md-03071     Document 776-25       Filed 02/09/24    Page 3 of 3 PageID #: 14346
